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 2                              UNITED STATES DISTRICT COURT
 3                            NORTHERN DISTRICT OF CALIFORNIA
 4                                     SAN JOSE DIVISION
 5    FEDERAL TRADE COMMISSION,                  Case No. 5:22-cv-04325-EJD
 6
              Plaintiff,                         [PROPOSED] ORDER ON DEFENDANTS
 7    v.                                         META PLATFORMS, INC.’s AND WITHIN
                                                 UNLIMITED, INC.’S MOTION FOR
 8    META PLATFORMS, INC., et al.,              CLARIFICATION AND,
                                                 ALTERNATIVELY, MOTION FOR LEAVE
 9            Defendants.                        TO FILE MOTION FOR
                                                 RECONSIDERATION OF D.E. 403
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11                                               Dept.: Courtroom 4 – 5th Floor
                                                 Judge: Honorable Edward J. Davila
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     [PROPOSED] ORDER ON DEFENDANTS’ MOTION                         CASE NO. 5:22-CV-04325-EJD
     FOR CLARIFICATION AND RECONSIDERATION OF
     ORDER
         Case 5:22-cv-04325-EJD Document 440-2 Filed 12/08/22 Page 2 of 2




 1                                         [PROPOSED] ORDER

 2          Having considered Defendants’ Motion for Clarification And, Alternatively, Motion For Leave
 3
     To File Motion For Reconsideration;
 4
            IT IS HEREBY ORDERED that the Motion is GRANTED. The Court shall issue an Order
 5
     clarifying the December 5, 2022 Order (D.E. 403).
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 8   Dated: ________________, 2022                            ____________________________

 9                                                            Edward J. Davila
                                                              UNITED STATES DISTRICT JUDGE
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     [PROPOSED] ORDER ON DEFENDANTS’ MOTION                                CASE NO. 5:22-CV-04325-EJD
     FOR CLARIFICATION AND RECONSIDERATION OF
     ORDER
